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7    Attorneys for Defendant,
     BRENDAN ROSS
8
                              UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10
11
      UNITED STATES OF AMERICA,                       Case No. 2:20-cr-00327-DSF
12
                                                      STIPULATION TO MODIFY BOND
13                              Plaintiff,
14
                                v.
15
      BRENDAN ROSS,
16
17                              Defendant.
18
19         Defendant Brendan Ross, by and through his counsel of record, Reuven L. Cohen
20   and Michael V Schafler of Cohen Williams LLP, and Plaintiff United States of America, by
21   and through its counsel of record, Assistant United States Attorneys Catherine S. Ahn and
22   Poonam Kumar, hereby stipulate and agree as follows:
23         1.     On August 11, 2020, Mr. Ross made his initial appearance in this District, and
24   was released on bond and a Bond Order was entered. (Dkt. 10.)
25         2.     The conditions of Bond were later modified three times. (Dkts. 20, 24, 33.)
26         3.     As relevant here, the Modified Bond Order requires Court approval for Mr.
27   Ross to “sell, transfer, or give away” any asset valued at $15,000 or more if not for the
28   purpose of paying Mr. Ross’s legal costs and fees. (Dkt. 24 at 4.)
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1          4.     Since 2017, Mr. Ross has been an investor in Oleum Group Holdings, LLC
2    (“Oleum”), a private oil and gas technology company. Mr. Ross’s investment in Oleum is
3    held in the form of convertible bonds. Mr. Ross seeks permission to sell a significant
4    portion of his investment in Oleum, which presently totals approximately $846,000.00.
5    Although it not yet clear exactly what price Mr. Ross will receive from the sale of his
6    position in Oleum, the sale of his Oleum investment will result in the transfer of assets in
7    excess of $15,000 – more specifically, Mr. Ross expects to receive approximately $700,000
8    - $900,000 for his Oleum interests. Mr. Ross will maintain only a small position in Oleum
9    following the sale (worth approximately $70,000).
10         5.     The reason for the sale is twofold. First, there appears to be an opportunity to
11   sell his position and liquidate his interest to cash. Second, the proceeds of the sale are
12   necessary for Mr. Ross’s living expenses and his legal fees and costs.
13         6.     Following the sale of his position in Oleum, Mr. Ross will transfer all of the
14   proceeds from the sale to his Wells Fargo accounts. Those accounts have previously been
15   disclosed to the Pretrial Services Office. The proceeds of the sale, once in those Wells
16   Fargo accounts, will be subject to the bond condition that prior approval be sought before
17   Mr. Ross “sell[s], transfer[s], or give[s] away” cash in excess of $15,000.
18         7.     Counsel for Mr. Ross and the Government agree to this Court’s entry of an
19   order permitting Mr. Ross to sell his investment and transfer the proceeds to his Wells
20   Fargo accounts.
21         8.     Defense counsel has also conferred with Mr. Ross’s Supervising Pretrial
22   Services Officer Oliver Vale, who has confirmed that Mr. Ross has maintained compliance
23   with all conditions of release and will defer to the Court regarding this request.
24         9.     The parties hereby jointly request that the Court enter an Order modifying the
25   terms and conditions of bond to permit Mr. Ross to transfer the assets from the liquidation
26   of a significant portion of his investment in Oleum to his bank account at Wells Fargo.
27         //
28         //
                                                     2
                                      STIPULATION TO MODIFY BOND
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1         10.     All other aspects of the Modified Bond Order are to remain in place.
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3               IT IS SO STIPULATED.
4
5                                                Respectfully Submitted,
6    DATED: November 3, 2021                     By: /s/ Michael V Schafler
                                                     Reuven L. Cohen
7
                                                     Michael V Schafler
8                                                    COHEN WILLIAMS LLP
                                                     Attorneys for Defendant
9
                                                     BRENDAN ROSS
10
11                                               Respectfully Submitted,
12   DATED: November 3, 2021                     By: /s/ (per e-mail authorization)
                                                      Poonam Kumar
13
                                                      Catherine S. Ahn
14                                                   Assistant United States Attorneys
                                                     Attorneys for Plaintiff
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                                                     UNITED STATES OF AMERICA
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